                  IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA


 KLOOSTERBOER
 INTERNATIONAL FORWARDING,
 LLC, et al.,

                Plaintiffs,

         v.                               Case No. 3:21-cv-00198-SLG

 UNITED STATES OF AMERICA,
 et al.,

                Defendants.


 ORDER RE UNOPPOSED MOTION TO EXTEND DISCOVERY DEADLINES
               AND SCHEDULING CONFERENCE

      Before the Court at Docket 192 is Defendant United States of America’s

Unopposed Motion to Extend Discovery Deadlines and Scheduling Conference.

There is no longer need for an expedited discovery timeline in the above-captioned

matter, and the parties anticipate that discovery in this matter—in particular,

eDiscovery and depositions—will require a more protracted schedule. The motion

is hereby GRANTED. The deadlines are as set out below:

                                           CURRENT               NEW
              DESCRIPTION
                                           DEADLINE          DEADLINE
Final Discovery Witness List           September 16, 2022 April 12, 2023
Close of Fact Discovery                October 31, 2022       May 26, 2023
Motions Under the Discovery Rules      November 7, 2022       June 9, 2023




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        At the parties’ request, the telephonic Status Conference on August 19,

2022 is hereby VACATED and rescheduled to September 1, 2022 at 11:00 a.m.

All parties shall participate telephonically by dialing 571-353-2301 (Call ID

020262828, Pin 487051) approximately five minutes before the scheduled hearing

time.

        DATED this 15th day of August, 2022, at Anchorage, Alaska.

                                               /s/ Sharon L. Gleason
                                               UNITED STATES DISTRICT JUDGE




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